Case 1:12-cr-00033-JLK Document 1803 Filed 04/30/18 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Senior Judge John L. Kane

Date: April 30, 2018                             Deputy Clerk: Bernique Abiakam
                                                 Court Reporter: Terri Lindblom
Interpreters: Irina Kamensky
              Tatiana Dautkhanova
Criminal Action No.:12-cr-00033-JLK-2
UNITED STATES OF AMERICA,                              Gregory A. Holloway
                                                       Julia K. Martinez
       Plaintiff,
v.
2.     BAKHTIYOR JUMAEV,                               David B. Savitz
                                                       Mitchell Baker
                                                       Emily E. Boehme
       Defendant.

                                COURTROOM MINUTES
Jury Trial Day 25
Jury arrives and resumes deliberations at 8:30 a.m.
9:37 a.m.      Court in session.
Court calls case. Appearances of counsel. Also present for the Plaintiff, Jason
Ferguson, Special Agent. Defendant present, in custody. Also present for the
Defendant, Anthony F. Divirgilio.
Interpreters present.
9:38 a.m.      Jury present.
Preliminary remarks by the Court.
The Court expresses gratitude and appreciation to the Jury.
Verdict reached.
3:39 a.m.      Verdict read by the Court
Jury polled.
Verdict accepted.
9:41 a.m.      Jury excused and released from jury service in this case.
Discussion regarding sentencing.
Case 1:12-cr-00033-JLK Document 1803 Filed 04/30/18 USDC Colorado Page 2 of 2




12-cr-00033-JLK-2
Jury Trial Day 25
April 30, 2018


ORDERED: The Sentencing Hearing is set for July 18, 2018 at 10:00 a.m.
Discussion regarding sentencing statements.
ORDERED: Defendant is REMANDED to the custody of the United States Marshal for
         the District of Colorado.
9:46 a.m.     Court in recess.
Trial concluded.
Time in court - 9 minutes.
Governments Exhibits (FBI Evidence) were returned and signed back over to the
custody of Special Agent Jason Ferguson. Receipt attached.




                                         2
